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                EXHIBIT A
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20
                               UNITED STATES DISTRICT COURT
21
                             NORTHERN DISTRICT OF CALIFORNIA
22
                                   SAN FRANCISCO DIVISION
23
   IN RE GOOGLE PLAY STORE                        Case No. 3:21-md-02981-JD
24 ANTITRUST LITIGATION
                                                  GOOGLE’S RESPONSE TO EPIC’S
25 THIS DOCUMENT RELATES TO:                      OBJECTIONS TO PROPOSED VERDICT
                                                  FORM
26 Epic Games Inc. v. Google LLC et al., Case
   No. 3:20-cv-05671-JD
27                                                Judge:   Hon. James Donato

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                                                                     Case No. 3:20-cv-05671-JD
               GOOGLE’S RESPONSE TO EPIC’S OBJECTIONS TO PROPOSED VERDICT FORM
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 1          In its objections to the Court’s proposed verdict form, Epic invites error by asking the

 2 Court to broaden its Section 1 questions to encompass lawful conduct. The Court should decline

 3 to do so.

 4          Specifically, Epic contends that the Games Velocity Program (“GVP”) agreements

 5 prevented the developers who were parties to those agreements from offering exclusive deals

 6 elsewhere. Epic does not cite a single case supporting this theory of anticompetitive conduct, nor

 7 has Epic presented a theory of how this theory could have injured Epic. That is because Epic’s

 8 theory—that it should be able to argue to the jury that Project Hug violated Section 1 by

 9 “depriving” other app stores of exclusive games—is legally deficient. Epic does not and cannot

10 suggest that Google itself obtained any exclusives from any developer. Rather, its complaint is

11 essentially that Google competed to obtain these titles for its own stores (non-exclusively) and, as

12 a result, other stores lost an opportunity to get a competitive advantage through an exclusive deal.

13 But the antitrust laws do not require Google to idly stand by while other app stores obtain

14 exclusive deals, and Google offering customers a better deal to win a competition is not conduct

15 “the antitrust laws were designed to prevent.” See Cargill, Inc. v. Monfort of Colo., Inc., 479 U.S.

16 104, 111, 115-16 (1986); cf. W. Parcel Exp. v. United Parcel Serv. of Am., Inc., 190 F.3d 974, 976

17 (9th Cir. 1999) (non-exclusive volume-based discount contracts “are legal under antitrust law”).

18          A competitor may lawfully offer incentives like rebates and above-cost competitive
19 pricing.1 See, e.g., Pac. Bell Tel. Co. v. linkline Commc’ns, Inc., 555 U.S. 438, 452 (2009);

20 Weyerhaeuser Co. v. Ross-Simmons Hardwood Lumber Co., 549 U.S. 312, 318-19 (2007); Brooke

21 Grp. Ltd. v. Brown & Williamson Tobacco Corp., 509 U.S. 209, 223 (1993); Cascade Health Sols.

22 v. PeaceHealth, 515 F.3d 883, 910 (9th Cir. 2008); see NicSand v. 3M, 507 F.3d 442, 451-52 (6th

23 Cir. 2007) (holding that above-cost upfront “cash payments” to “obtain … business” could not

24 cause an antitrust injury because “[r]ather than upsetting the competition-enhancing goals of the

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    Indeed, [e]ven a monopolist is permitted to compete in the battle for trade.” In re IBM
28 Peripheral EDP Devices Antitrust Litig., 481 F. Supp. 965, 991 (N.D. Cal. 1979), aff'd sub nom.
   Transamerica Computer Co. v. Int’l Bus. Machs. Corp., 698 F.2d 1377 (9th Cir. 1983).
                                               -2-                    Case No. 3:20-cv-05671-JD
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 1 antitrust laws, the payments furthered them”). That is the essence of competition; and that is what

 2 happened with GVP deals.

 3         Accordingly, the Court should overrule Epic’s objection to the proposed verdict form.

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 5 DATED: December 8, 2023                    Respectfully submitted,

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                GOOGLE’S RESPONSE TO EPIC’S OBJECTIONS TO PROPOSED VERDICT FORM
